                     Case 9:20-bk-10554-DS       Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14           Desc
                                                 Main Document     Page 1 of 9


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                      5   Telephone: (310) 203-4000
                          Facsimile: (310) 229-1285
                      6   Proposed Counsel for the Debtors and
                          Debtors in Possession
                      7
                                              UNITED STATES BANKRUPTCY COURT
                      8               CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
                      9    In re:                                       Case No. 9:20-bk-10554-DS
                     10    Community Provider of Enrichment Services,   Chapter 11 Cases
                           Inc. d/b/a CPES Inc., et al.,                (Joint Administration Requested)
                     11
                                    Debtors.                            EMERGENCY MOTION OF DEBTORS
                     12                                                 FOR THE ENTRY OF AN ORDER:
                           [•] Affects All Debtors                      EXTENDING TIME TO FILE
                     13                                                 SCHEDULES OF ASSETS AND
                           [ ] Community Provider of Enrichment         LIABILITIES AND STATEMENTS OF
                     14                                                 FINANCIAL AFFAIRS PURSUANT TO 11
                           Services, Inc. d/b/a CPES Inc.
                           [ ] Novelles Developmental Services, Inc.    U.S.C. §§ 105(a) AND 521(a), FED. R.
                     15                                                 BANKR. P. 1007(c), AND LOCAL RULE
                                                                        1007-1(b)
                     16
                           Debtors and Debtors in Possession
                                                                        No Hearing Required Per LBR 1007-1(b) and
                     17                                                 9013-1(p)
                     18                                                 Declaration of Mark G. Monson in Support of
                                                                        Emergency First Day Motions filed concurrently
                     19                                                 herewith.
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  FAEGRE DRINKER
BIDDLE & REATH LLP
  ATTORNEYS AT LAW        EMERGENCY MOTION RE SOFA EXTENSION                                   CASE NO. 9:20-BK-10554-DS
    LOS ANGELES
                     Case 9:20-bk-10554-DS         Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                  Desc
                                                   Main Document     Page 2 of 9


                      1                                        EMERGENCY MOTION

                      2          Community Provider of Enrichment Services, Inc. d/b/a CPES Inc. (“CPES AZ”), and

                      3   Novelles Developmental Services, Inc. (“Novelles”), as debtors and debtors in possession

                      4   (collectively, “CPES” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

                      5   11 Cases”), hereby submit this Motion (the “Motion”), pursuant to sections 521(a) and 105(a) of

                      6   title 11 of the United States Code (the “Bankruptcy Code”), Rule 1007(c) of the Federal Rules of

                      7   Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1007-1(b) of the Local Rules of the

                      8   United States Bankruptcy Court for the Central District of California (the “Local Rules”) for entry

                      9   of an order extending the initial fourteen (14) day period to file their schedules of assets and

                     10   liabilities and statements of financial affairs (collectively, the “Schedules and Statements”) by thirty

                     11   (30) days, to allow the Debtors a total of forty-four (44) days after the Petition Date (as defined

                     12   below) to file their Schedules and Statements (the “Schedules and Statements Deadline”), without

                     13   prejudice to the Debtors’ right to request additional time if necessary.

                     14                                  SUMMARY OF REQUESTED RELIEF

                     15          The Debtors respectfully submit that there is sufficient cause for the Court to extend the

                     16   deadline by which the Debtors must file their Schedules and Statements from May 8, 2020 to

                     17   June 7, 2020.

                     18                                    ADDITIONAL INFORMATION

                     19          The Motion is based on the Notice of Emergency Motions that will be filed and served after

                     20   a hearing date for the Debtors’ “First Day Motions” has been obtained, the attached Memorandum

                     21   of Points and Authorities, the First Day Declaration, and the arguments of counsel and other

                     22   admissible evidence properly brought before the Court at or before the hearing regarding the

                     23   Motion. In addition, the Debtors request that the Court take judicial notice of all documents filed

                     24   with the Court in this case.

                     25          Counsel to the Debtors will provide notice of this Motion, the attached Memorandum of

                     26   Points and Authorities, the First Day Declaration and the Notice of First Day Motions on: (i) the

                     27   Office of the United States Trustee; (ii) the twenty largest general unsecured creditors of each

                     28   Debtor appearing on the list filed in accordance with Rule 1007(d) of the Bankruptcy Rules; (iii)
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    LOS ANGELES
                     Case 9:20-bk-10554-DS        Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                Desc
                                                  Main Document     Page 3 of 9


                      1   the United States of America, and the State of California; and (iv) parties that file with the Court

                      2   and serve upon the Debtors requests for notice of all matters in accordance with Bankruptcy Rule

                      3   2002(i). To the extent necessary, the Debtors request that the Court waive compliance with LBR

                      4   9075-1(a)(6) and approve service (in addition to the means of services set forth in such LBR) by

                      5   overnight delivery.   Among other things, the Notice of Emergency Motions will provide that any

                      6   opposition or objection to the Motion may be presented at any time before or at the hearing

                      7   regarding the Motion, but that failure to timely object may be deemed by the Court to constitute

                      8   consent to the relief requested herein.

                      9          In the event that the Court grants the relief requested by the Motion, the Debtors shall

                     10   provide notice of the entry of the order granting such relief upon each of the foregoing parties and

                     11   any other parties in interest as the Court directs. The Debtors submit that such notice is sufficient

                     12   and that no other or further notice be given.

                     13                                  [Remainder of page intentionally left blank.]

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    LOS ANGELES
                     Case 9:20-bk-10554-DS         Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14               Desc
                                                   Main Document     Page 4 of 9


                      1          WHEREFORE, for all the foregoing reasons and such additional reasons as may be

                      2   advanced at or prior to the hearing regarding this Motion, the Debtors respectfully request that the

                      3   Court enter an order extending the initial fourteen (14) day period to file their schedules of assets

                      4   and liabilities and statements of financial affairs (collectively, the “Schedules and Statements”) by

                      5   thirty (30) days, to allow the Debtors a total of forty-four (44) days after the Petition Date (as

                      6   defined below) to file their Schedules and Statements (the “Schedules and Statements Deadline”),

                      7   without prejudice to the Debtors’ right to request additional time if necessary..

                      8    Dated: April 27, 2020                           FAEGRE DRINKER BIDDLE & REATH LLP
                      9                                                    By: /s/ Ryan M. Salzman
                                                                           Ryan M. Salzman (CA Bar #299923)
                     10                                                    Ryan.Salzman@faegredrinker.com
                                                                           Jeremy M. Pelphrey (CA Bar #249862)
                     11                                                    Jeremy.Pelphrey@faegredrinker.com
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                     14                                                    Vince Slusher (TX Bar # 00785480)
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                     15                                                    Dallas, Texas 75201
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                     17                                                    Pro Hac Vice Pending
                     18                                                    Proposed Counsel for the Debtors and Debtors
                                                                           in Possession
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    LOS ANGELES
                     Case 9:20-bk-10554-DS        Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                Desc
                                                  Main Document     Page 5 of 9


                      1                             MEMORANDUM AND POINTS OF LAW
                      2   I.     JURISDICTION
                      3          The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334.

                      4   This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the Court pursuant

                      5   to 28 U.S.C. §§ 1408 and 1409.

                      6   II.    BACKGROUND
                      7          On the April 24, 2020 (the “Petition Date”), the Debtors commenced with the Court

                      8   voluntary cases under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

                      9   businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

                     10   1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee has been appointed in

                     11   either of the Chapter 11 Cases.

                     12          Additional information regarding the circumstances leading to the commencement of the

                     13   Chapter 11 Cases and information regarding the Debtors’ businesses and capital structure is set

                     14   forth in the Declaration of Mark G. Monson in Support of Emergency First Day Motions, filed

                     15   contemporaneously herewith in support of the Debtors’ chapter 11 petitions and related first day

                     16   relief (the “First Day Declaration”).

                     17   III.   CAUSE EXISTS TO EXTEND TIME TO FILE SCHEDULES AND STATEMENTS
                     18          Section 521 of the Bankruptcy Code requires a debtor to file its schedules of assets and

                     19   liabilities and statements of financial affairs unless the Court orders otherwise. 11 U.S.C. §

                     20   521(a)(1)(A)–(B). These schedules and statements must be filed within fourteen (14) days after

                     21   the petition date unless the Bankruptcy Court grants an extension of time “on motion for cause

                     22   shown.” Fed. R. Bankr. P. 1007(c). Rule 1007-1(b) of the Local Rules of the United States

                     23   Bankruptcy Court for the Central District of California (the “Local Rules”) states:

                     24          (1)       A motion for an extension of time to file the lists of creditors and equity
                                           security holders, or to file the schedules, statements, and other documents,
                     25                    must: (A) identify the date the petition was filed, and the date of the
                                           proposed new deadline; (B) be supported by a declaration under penalty
                     26                    of perjury establishing a sufficient explanation for the requested extension
                                           of time; and (C) contain a proof of service upon the case trustee (if any)
                     27                    and all creditors.
                                 (2)       The motion may be ruled upon without a hearing pursuant to LBR
                     28                    9013-1(p)
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    LOS ANGELES
                     Case 9:20-bk-10554-DS         Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                  Desc
                                                   Main Document     Page 6 of 9


                      1          Additionally, section 105(a) of the Bankruptcy Code, which codifies the equitable powers
                      2   of the Bankruptcy Court, authorizes the Court to “issue any order, process, or judgment that is
                      3   necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). In light of
                      4   the facts and circumstances surrounding these Chapter 11 Cases, this Court has the authority,
                      5   consistent with sections 521(a) and 105(a) of the Bankruptcy Code, to grant the requested relief.
                      6          The First Day Declaration filed contemporaneously herewith in support of the Debtors’
                      7   chapter 11 petitions and related first day relief provides adequate support for the 30-day extension
                      8   of time to file the Schedules and Statements of Financial Affairs and Documents.
                      9          The Debtors require more time to fully analyze their assets and liabilities with the assistance
                     10   and advice of counsel in order to prepare full and accurate Schedules, Statements and other
                     11   Documents. As discussed, the Debtors operate a robust mental health care system offering a full
                     12   range of community-based behavioral health services, substance abuse treatment, foster care, and
                     13   intellectual and developmental disability supports throughout California and Arizona. During this
                     14   same time period, the Debtors must also prepare the 7-Day Package for submission to the Office
                     15   of the United States Trustee, which will require significant time and attention. The Debtors are also
                     16   preparing other emergency motions, employment applications and applications for compensation,
                     17   and will be responding to inquiries regarding these bankruptcy cases. All the while, the Debtors
                     18   must provide patient care and operate their facilities.
                     19          The Court’s grant of a time extension to file the Schedules and Statements as requested in
                     20   this Motion is appropriate in light of these circumstances. While the Debtors, with the assistance
                     21   of their professional advisors, have mobilized their employees to work diligently and expeditiously
                     22   to prepare the Schedules and Statements, the 14-day deadline simply is not achievable under the
                     23   circumstances of these Chapter 11 Cases. Given the volume of work entailed in completing the
                     24   Schedules and Statements, as well as the competing demands on the Debtors’ employees and
                     25   professionals to stabilize the Debtors’ business operations and address the many other issues that
                     26   arise during the critical initial postpetition period, the Debtors, as a practical matter, are unable to
                     27   properly and accurately complete the Schedules and Statements within the initial statutory period.
                     28   Furthermore, if the Debtors are forced to file their Schedules and Statements by the current
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    LOS ANGELES
                     Case 9:20-bk-10554-DS          Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                Desc
                                                    Main Document     Page 7 of 9


                      1   deadline, then the Debtors and their professionals will most likely have to later expend substantial
                      2   time and resources to prepare amendments at the expense of the estate. Additionally, the Debtors
                      3   respectfully submit that none of their creditors will be prejudiced by the extension of time requested
                      4   herein.
                      5             Accordingly, ample cause exists to extend the time for filing the Schedules and Statements
                      6   as requested in the Motion.
                      7   IV.       CONCLUSION
                      8             Based on the information set forth hereinabove, the Debtors respectfully submit that there
                      9   is sufficient cause for the Court to extend the deadline by which the Debtors must file their
                     10   Schedules and Statements from May 8, 2020 to June 7, 2020.
                     11   V.        NOTICE
                     12             Counsel to the Debtors will serve this Motion, the attached Memorandum of Points and
                     13   Authorities, the First Day Declaration and the Notice of Emergency Motions on: (i) the Office of
                     14   the United States Trustee; (ii) the twenty (20) largest general unsecured creditors for each Debtor;
                     15   (iii) the United States of America, the State of California, and the State of Arizona; and (iv) parties
                     16   that file with the Court and serve upon the Debtors requests for notice of all matters in accordance
                     17   with Bankruptcy Rule 2002(i). The Debtors submit that, in view of the facts and circumstances,
                     18   such notice is sufficient and no further notice is required.
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    LOS ANGELES
                     Case 9:20-bk-10554-DS         Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14             Desc
                                                   Main Document     Page 8 of 9


                      1          WHEREFORE, the Debtors respectfully request entry of an order granting the relief
                      2   requested herein and such other and further relief as the Court may deem just and appropriate.
                      3    Dated: April 27, 2020                          FAEGRE DRINKER BIDDLE & REATH LLP
                      4                                                   By: /s/ Ryan M. Salzman
                                                                          Ryan M. Salzman (CA Bar #299923)
                      5                                                   Ryan.Salzman@faegredrinker.com
                                                                          Jeremy M. Pelphrey (CA Bar #249862)
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                      9                                                   Vince Slusher (TX Bar # 00785480)
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                     11                                                   Facsimile: (469) 327-0860
                                                                          Vince.Slusher@faegredrinker.com
                     12                                                   Pro Hac Vice Pending
                     13                                                   Proposed Counsel for the Debtors and Debtors
                                                                          in Possession
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    LOS ANGELES
            Case 9:20-bk-10554-DS                   Doc 9 Filed 04/27/20 Entered 04/27/20 16:37:14                                    Desc
                                                    Main Document     Page 9 of 9



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
FAEGRE DRINKER BIDDLE & REATH LLP, 90 South 7th St, Ste 2200, Minneapolis, MN 55402


A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION OF DEBTORS FOR THE
ENTRY OF AN ORDER: EXTENDING TIME TO FILE SCHEDULES OF ASSETS AND LIABILITIES AND
STATEMENTS OF FINANCIAL AFFAIRS PURSUANT TO 11 U.S.C. §§ 105(a) AND 521(a), FED. R. BANKR. P.
1007(c), AND LOCAL RULE 1007-1(b) will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
4/27/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Steve Ordaz, BMC Group, Inc., email: sordaz@bmcgroup.com; tfeil@bmcgroup.com
Brian D. Fittipaldi, Office of the US Trustee, email: brian.fittipaldi@usdoj.gov
United States Trustee, email: ustregion16.nd.ecf@usdoj.gov




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __4/27/2020_________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
Honorable Deborah J. Saltzman
U.S. Bankruptcy Court
255 E. Temple St, Ste 1634
Courtroom 1639
Los Angeles, CA 90012
                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/27/2020                       Susan Carlson                                                  /e/ Susan Carlson
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
